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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA

  HAVANA DOCKS CORPORATION,                     Case No. 19-cv-21724
                                                BLOOM/McAliley
        Plaintiff,

  v.
  CARNIVAL CORPORATION,
        Defendant.
  _________________________________________/
  HAVANA DOCKS CORPORATION,                     Case No. 19-cv-23588
                                                BLOOM/Louis
        Plaintiff,
  v.
  MSC CRUISES SA,
  MSC CRUISES SA CO, and
  MSC CRUISES (USA) INC.,
        Defendants.
  _________________________________________/
  HAVANA DOCKS CORPORATION,                     Case No. 19-cv-23590
                                                BLOOM/Louis
        Plaintiff,
  v.
  ROYAL CARIBBEAN CRUISES, LTD.,
        Defendant.
  _________________________________________/
  HAVANA DOCKS CORPORATION,                     Case No. 19-cv-23591
                                                BLOOM/Louis
        Plaintiff,
  v.
  NORWEGIAN CRUISE LINE HOLDINGS LTD.,
        Defendant.
  _________________________________________/

                       MSC CRUISES’ NOTICE OF APPEAL



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         Notice is hereby given that MSC Cruises S.A., MSC Cruises SA Co., and MSC Cruises

  (USA) Inc. (collectively, “MSC Cruises”), defendants in the above-captioned case, hereby appeal

  to the United States Court of Appeals for the Eleventh Circuit from the final judgment entered in

  this action on December 30, 2022 (MSC ECF No. 395) and from all orders preceding it, including

  ECF No. 452, Havana Docks Corp. v. Norwegian Cruise Line Holdings, Ltd., No. 1:19-cv-23591-

  BB.



  Dated: January 25, 2023                     Respectfully submitted,

                                              /s/ J. Douglas Baldridge
                                              J. Douglas Baldridge (Fla. Bar No. 708070)
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                                              Justin B. Nemeroff (admitted pro hac vice)
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                                              Counsel for MSC Cruises




                                 CERTIFICATE OF SERVICE

         I hereby certify that on the 25th day of January, 2023, a copy of the foregoing was filed

  through the Court’s CM/ECF management system and electronically served on counsel of record.

                                                      /s/ J. Douglas Baldridge




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